Case 19-11040-elf            Doc 58   Filed 04/02/20 Entered 04/03/20 07:14:44             Desc Main
                                      Document Page 1 of 1




                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
                                                     Bankruptcy No. 19-11040-elf
LORI S BASCOMB
                                                     Chapter 13
                 Debtor,
                                                     Document No. 47, 50
THE BANK OF NEW YORK MELLON, F/K/A
THE BANK OF NEW YORK AS TRUSTEE FOR
REGISTERED HOLDERS OF CWABS, INC.,
ASSET-BACKED CERTIFICATES, SERIES
2005-1

                 Movant,

         v.
LORI S BASCOMB, and
WILLIAM C. MILLER, Chapter 13 Trustee

                  Respondents.


                                          ORDER OF COURT
                           2nd day of ________
              AND NOW, this_            April  , 2020, upon consideration of the

foregoing Stipulation Resolving Motion for Relief from the Automatic Stay (Doc. # 52), it is hereby

ORDERED that the Stipulation is approved.



                                                        BY THE COURT



                                                        Eric L. Frank
                                                        U.S. Bankruptcy Court Judge
